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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


LAURA HOLMES, et al.                   )
                                       )
       Plaintiffs,                     )
                                       )
  v.                                   )
                                       )
FEDERAL ELECTION                       ) Civil Action No. 1:14-cv-01243 (RMC)
COMMISSION,                            )
                                       )
       Defendant.                      )
                                       )
                                       )
                                       )




       PLAINTIFFS’ OPENING BRIEF REGARDING CERTIFICATION



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                                      ARGUMENT

        Pursuant to this Court’s February 9, 2015 Order to Govern Proceedings,

(Dkt. 24), Plaintiffs submit this Opening Brief Regarding Certification.

I.      Wagner’s Three-Step Process and the Scope of this Remand

        This case presents a narrow constitutional challenge, which Plaintiffs pursue

under a compulsory statutory procedure. 52 U.S.C. § 30110.1 Following this

Court’s certification of the constitutional questions in this case, the Court of

Appeals scheduled oral argument. The FEC responded by moving for remand,

arguing, inter alia, that the record certified was insufficient because it did not

“reflect[] input from both parties.” E.g., FEC Motion for Remand at 17, Holmes v.

FEC, (No. 14-5281) (D.C. Cir. Jan. 2, 2015). The Court of Appeals remanded the

action in a one page, unpublished order:

        The court grants the motion to remand this 52 U.S.C. § 30110
        (formerly 2 U.S.C. § 437h) case in order to provide the parties an
        opportunity to develop, by expedited discovery or otherwise, the
        factual record necessary for en banc review of the plaintiffs’
        constitutional challenge. It is further ordered that the district court
        shall complete the functions mandated by § 30110 and described in
        Wagner v. FEC, 717 F.3d at 1009, including the development of a
        record for appellate review, by April 24, 2015. The district court is to
        certify any constitutional question(s) by that date as well.




1
    Previously codified at 2 U.S.C. § 437h.

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Order, Holmes v. FEC, (No. 14-5281) (D.C. Cir. Jan. 30, 2015) (en banc) (per

curiam) (D.D.C. Dkt. 22) (citing Cal. Med. Ass’n v. FEC, 453 U.S. 182, 192 n.14

(1981) (“Cal. Med.”); Wagner v. FEC, 717 F.3d 1007, 1009 (2013)).

      Pursuant to that order, the scope of this remand is governed by Wagner v.

FEC, which provides that:

      Under [§ 30110], a district court should perform three functions. First,
      it must develop a record for appellate review by making findings of
      fact. See Bread Political Action Comm. v. FEC, 455 U.S. 577, 580
      (1982); Buckley v. Valeo, 519 F.2d 817, 818-19 (D.C. Cir. 1975) (per
      curiam). Second, the district court must determine whether the
      constitutional challenges are frivolous or involve settled legal
      questions. See Cal. Med. Ass'n v. FEC, 453 U.S. 182, 192 n.14
      (1981); Khachaturian v. FEC, 980 F.2d 330, 331 (5th Cir. 1992) (en
      banc) (per curiam); Goland v. United States, 903 F.2d 1247, 1257 (9th
      Cir. 1990). Finally, the district court must immediately certify the
      record and all non-frivolous constitutional questions to the en banc
      court of appeals. See Cal. Med., 453 U.S. at 192 n.14; see also
      Mariani v. United States, 212 F.3d 761, 769 (3d Cir. 2000) (en banc).

717 F.3d at 1009. Wagner provides a clear roadmap, which Plaintiffs follow

below.

II.   Developing a Record for Appellate Review

      In remanding this case, the Court of Appeals suggested that the FEC should

be given an opportunity to conduct discovery, and asked this Court to thereafter

develop a factual record adequate for appellate review. The Commission has now

had that opportunity, and has been invited to suggest additional facts for

certification. Without prejudging that effort, Plaintiffs believe that the facts this



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Court previously certified were adequate. Consequently, Plaintiffs propose only

modest    additions   in   their   Proposed   Facts   for   Certification,   submitted

contemporaneously with this Opening Brief.

      The Court of Appeals has required this Court and the Parties to act

expeditiously. Order (“the district court shall complete the functions mandated by

§ 30110 and described in Wagner v. FEC, 717 F.3d at 1009, including the

development of a record for appellate review, by April 24, 2015. The district court

is to certify any constitutional question(s) by that date as well.”). This schedule is

consistent with decades of § 30110 jurisprudence recognizing that “Congress’s

objective when it enacted [§ 30110]… was, and is, speed.” Wagner, 717 F.3d at

1013 n.6. Speed is necessary because of “the public’s interest in having questions

of FECA’s constitutionality speedily resolved.” Id. at 1013. A long line of cases

reiterate this principle. See e.g., Cal. Med., 453 U.S. at 188 (Congress enacted [§

30110] as “method for obtaining expedited review of constitutional challenges to

the [FECA]”); Buckley v. Valeo, 387 F. Supp. 135, 138 (D.D.C. 1975) (“The very

essence of [§ 30110]…is speedy judicial review”) remanded on other grounds 519

F.2d 817 (D.C. Cir. 1975) (en banc) (per curiam); but see Buckley, 519 F.2d at 819

(noting the “intention of Congress for expedition in appellate disposition”).

      Both this extensive precedent and the Court of Appeals’ order emphasize the

speed with which this Court must act. Thus, neither Congress nor the appellate



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court anticipate a substantial period of discovery, or the need for extensive factual

findings (or the motion practice, extensive evidentiary hearings, expert testimony,

and other time consuming steps necessary to develop and vet a lengthy record).

Extraneous information—including general statements, characterizations of law, or

details unrelated to the constitutional issues Plaintiffs present—need not (and

should not) be made part of the certified record.

      Of course, this Court must certify sufficient facts to resolve the

constitutional questions at bar—a task lower courts have not always completed to

the satisfaction of the Courts of Appeals. For example, when Buckley v. Valeo first

came before the D.C. Circuit, it remanded the case, instructing the district court

to“[t]ake whatever may be necessary in the form of evidence over and above

submissions that may suitably be handled through judicial notice.” 519 F.2d 817,

818 (D.C. Cir. 1975) (en banc) (per curiam). Similarly, in Khachaturian v. FEC,

the district court considered no briefing and made no factual findings. 980 F.2d

330, 332 (5th Cir. 1992). In fact, Khachaturian filed his complaint and motion to

expedite on September 29, 1992—and that complaint constituted the entirety of the

record sent to the en banc Court of Appeals. Khachaturian, No. 92-3232 (E.D. La.

1992) (Dkts. 1 and 2). The FEC was not even given time to answer Khachaturian’s

complaint. 980 F.2d at 332. This, of course, resulted in a record insufficient to




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decide Mr. Khachaturian’s constitutional questions. But neither Buckley nor

Khachaturian is, on this point, remotely similar to Plaintiffs’ case.

      While an adequate record must be developed, the caselaw also

overwhelmingly     holds    that   unnecessary    discovery    and      factfinding   are

inappropriate. See, e.g., Buckley v. Valeo, 519 F.2d at 818 (ordering district court

to “[t]ake whatever may be necessary in the form of evidence”) (emphasis

supplied); Wagner at 1017 (district court need only “make appropriate findings of

facts, as necessary, and to certify those facts…”) (emphasis supplied); Mariani v.

United States, 212 F.3d 761, 765 (3d Cir. 2000) (noting, in a challenge to FECA,

that “some of the District Court's findings [we]re unsupported by proper evidence

and that some stray[ed] from appropriate fact finding into legal conclusions”).2

      Given the authority supporting a limited approach to discovery and factual

development, it is hardly fatal to this expedited review procedure when, as it did in

Wagner, § 30110 “results in a less-focused record than ordinary litigation.” 717

F.3d at 1015. Moreover, from a practical standpoint, a lengthy record is not

needed. This case concerns a specific, narrow problem: the constitutional

implications of a law which, under a specific and recurring set of circumstances,


2
  Likewise, challenges to the Bipartisan Campaign Reform Act of 2002 (“BCRA”)
proceed under a parallel judicial review procedure. The Supreme Court held that
BCRA challenges “must entail minimal if any discovery, to allow parties to resolve
disputes quickly without chilling speech through the threat of burdensome
litigation.” FEC v. Wis. Right to Life, 551 U.S. 449, 469 (2007) (emphasis added).

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denies contributors like the Plaintiffs the same constitutional rights that other

contributors enjoy, and does so without appreciably furthering the government’s

anticorruption efforts.

       A succinct record is sufficient to demonstrate that bifurcation of the

candidate contribution limit between primary and general elections violates the

First and Fifth Amendments as applied to Plaintiffs and those similarly situated. 52

U.S.C. §§ 30116(a)(1)(A); 30116(a)(6). Plaintiffs’ own experience demonstrates

that favored contributors may give their preferred candidates $5,200 for the general

election, while Plaintiffs and those similarly situated may not. On the other hand, it

is the FEC’s burden to show that its anticorruption interests are served by

bifurcating contribution limits—as opposed to the limits themselves. Thus, we turn

to the second task set out by the Wagner Court: “determin[ing] whether the

constitutional challenges are frivolous or involve settled legal questions.” Id. at

1009 (citing Cal. Med., 453 U.S. at 192, n.14; Khachaturian v. FEC, 980 F.2d at

331; Goland v. United States, 903 F.2d 1247, 1257 (9th Cir. 1990)).

III.   This case presents two constitutional questions that the Supreme Court
       has not decided.

       A.    The substantive question before this Court is whether Plaintiffs’
             specific claims, in the context of the facts of this case, are
             foreclosed by Supreme Court precedent.

       The certification of constitutional questions is not discretionary: “the plain

text of [§ 30110] grants exclusive merits jurisdiction to the en banc court of

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appeals.” Wagner at 1011 (emphasis supplied). See also Certification of Questions

of Constitutionality of Federal Election Campaign Act at 1-2 (Dkt. 18) (this Court

recognizing same).3 The relevant test is straightforward. Constitutional issues must

be certified unless the Supreme Court has already decided the questions presented.

3
    This Court first considered this case on a preliminary injunction motion, which is

         an extraordinary remedy that may only be awarded upon a clear
         showing that the plaintiff is entitled to such relief….[and is] never
         awarded as of right…A plaintiff seeking a preliminary injunction
         must establish that he is likely to succeed on the merits, that he is
         likely to suffer irreparable harm in the absence of preliminary relief,
         that the balance of equities tips in his favor, and that an injunction is
         in the public interest.

Winter v. NRDC, 555 U.S. 7, 22, 24, 20 (2008). Given the remedy’s exceptional
nature, a “movant has the burden to show that all four factors…weigh in favor of
the injunction.” Davis v. PBGC, 571 F.3d 1288, 1292 (D.C. Cir. 2009).

By contrast, under § 30110, certification is required, with a limited exception for
questions that are frivolous or matters of settled law. See, e.g., Cal. Med., 453 U.S.
at 192 n. 14. Consequently, the rigorous standard for preliminary relief is distinct
from the statutory path to en banc review. Certification is a right provided by
Congress, not “an extraordinary remedy that may only be awarded upon a clear
showing.” Winter, 555 U.S. at 22.

Similarly, certification does not require a multi-factor test, or impose a weighty
burden on parties seeking it. Instead, there is a presumption in favor of
certification: the showing required is minimal, akin to that required to survive a
motion to dismiss under FED. R. CIV. P. 12(b)(6). Goland v. United States, 903
F.2d 1247, 1257-58 (9th Cir. 1990) (comparing [§ 30110] certification standard to
three judge court provision of 28 U.S.C. § 2284, and describing the showing
required as “closely resembl[ing] that applied under Rule 12(b)(6)”). Compare,
e.g., SpeechNow.org v. FEC, 567 F.Supp. 2d 70 (D.D.C. 2008) (denying plaintiffs’
motion to enjoin enforcement of certain contribution limits under § 30110); 2009
U.S. Dist. LEXIS 89011 (D.D.C. Sept. 28, 2009) (certifying constitutional
questions to the en banc Court of Appeals)).

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Wagner, 717 F.3d at 1009 (collecting cases). In Cal. Med., Justice Marshall

described this test as one of substantiality or settled law (“the issues here are

neither insubstantial nor settled. We therefore conclude that this case is properly

before us pursuant to § [30110].”) 453 U.S. at 192 n.14. The en banc Fifth Circuit

stated that a “district court need not certify legal issues that have been resolved by

the Supreme Court.” Khachaturian v. FEC, 980 F.2d at 331; see also, e.g.,

Feinberg v. Fed. Deposit Ins. Corp., 522 F.2d 1335, 1339 (D.C. Cir. 1975)

(constitutional question is “substantial” for purposes of certification to three-judge

court unless Supreme Court has “foreclose[d] the subject” and left “no room for

the inference that the question sought to be raised can be the subject of

controversy”). However phrased, the heart of the inquiry is the same: whether a

case challenging the same provision, under the same legal theory, premised upon

the same or similar facts, has been presented to and decided by the Supreme Court.

      Khachaturian v. FEC is instructive. In that case, “Khachaturian argue[d] that

the [individual contribution] limit [was] unconstitutional as applied to his

independent candidacy. However, Buckley considered, and rejected, claims that the

contribution limit invidiously discriminates against independent and minor-party

candidates as a class.” 980 F.2d at 331 (citing 424 U.S. at 33-35). This was correct:

the Buckley Court had specifically stated that “the record [before it was] virtually

devoid of support for the claim that the [then] $ 1,000 contribution limitation



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w[ould] have a serious effect on the initiation and scope of minor-party and

independent candidacies.” 424 U.S. at 34. Thus, the Supreme Court had considered

the precise claim Mr. Khachaturian raised—that the individual contribution limit

was unconstitutional in the context of an independent candidate. Further,

Khachaturian had not shown that his situation was any different from that of the

minor-party and independent candidates that Buckley had considered. 980 F.3d at

331. As a result, it had been improper to certify the question.

      The threshold inquiry, then, is not whether the offending statute has ever

before been subject to a constitutional challenge. Instead, it is whether the

particular questions the plaintiffs ask the court to certify, on the particular facts of

their situation, present a novel application of the law that has not been ruled upon

by the Supreme Court. Goland v. United States, for example, emphasized that it is

not the specific provision of law at issue that determines a question’s substantiality,

but the factual posture and legal theory undergirding the case itself. 903 F.2d 1247

(9th Cir. 1990). There, the plaintiff funneled over $120,000 through 56 people to

fund campaign ads without disclosing his identity. Id. at 1251. After being indicted

for violating FECA, he challenged the statute’s application to him and sought

certification to a three-judge court under the predecessor to § 30110. Id. at 1252.

The Ninth Circuit dismissed as “sophistic” and “creative” Goland’s suggestion

that, because he contributed anonymously, the individual contribution limit upheld



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in Buckley was inapplicable to him. Id. at 1257, 1258. Even in doing so, the Court

of Appeals reiterated: “[o]nce a core provision of FECA has been reviewed and

approved by the courts, unanticipated variations also may deserve the full attention

of the appellate court.” Id. at 1257. See also, e.g., Citizens United v. FEC, 558 U.S.

310, 373 (2010) (opinion of Roberts, C.J.) (noting the Court’s practice “‘never to

formulate a rule of constitutional law broader than is required by the precise facts

to which it is to be applied’”) (citing United States v. Raines, 362 U.S. 17, 21

(1960)) (quoting Liverpool, New York & Philadelphia S. S. Co. v. Commissioners

of Emigration, 113 U.S. 33, 39 (1885)).

        Cao v. FEC, on the other hand, illustrates when a question is appropriate for

certification. 688 F. Supp. 2d 498 (E.D. La. 2010) aff'd som. nom. Republican

Nat’l Comm. v. FEC (In re Anh Cao), 619 F.3d 410 (5th Cir. 2010). There, the

United States District Court for the Eastern District of Louisiana certified several

questions to the Fifth Circuit. Among them was whether the $ 5,000 contribution

limit on PAC-to-candidate contributions under 2 U.S.C. § 441a(a)(2)(A)4 was

unconstitutional as applied to a political party’s PAC. Importantly, this PAC-to-

candidate contribution limit had been upheld in prior Supreme Court cases,

including Buckley v. Valeo, 424 U.S. at 36, and FEC v. Colo. Republican Federal

Campaign Comm., 533 U.S. 431, 438-39 (2001) (“Colorado II”). Nevertheless, the


4
    Recodified at 52 U.S.C. § 30116(a)(2)(A).

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Cao plaintiffs brought a challenge based upon Supreme Court dicta noting the

especially important role of established political parties in the electoral system.

Given that central role, the plaintiffs argued, a political party’s PAC should not be

subject to the PAC-to-candidate contribution limit. Cao, 688 F. Supp. 2d at 547.

      The Cao district court concluded that this question was appropriate for

certification because the Supreme Court had never directly considered that

argument. “Buckley mentioned the predecessor to [the PAC-to-candidate limit], but

did so only in the context of discussing ad hoc political groups as opposed to

‘established interest groups.’ Political parties were not mentioned, nor was the

constitutionality of undifferentiated limits.” Id. (quoting 424 U.S. at 36). The

district court continued: “the portion of Colorado II cited by the FEC dealt

exclusively with coordinated expenditures, not contributions,” and “contributions

and expenditures require distinct constitutional analysis.” Id.

      Cao found further grounds for certification in the Supreme Court’s post-

Buckley jurisprudence: “In fact, the Colorado II court suggested that political

parties might warrant additional constitutional protections, but declined to address

the question.” Id. (citing 533 U.S. at 448-49). The district court concluded that an

“acknowledgment by the high court that parties may possess uniquely protected

associational rights is sufficient for this Court to hold that [the question was] non-

frivolous.” Id.



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      The en banc court ultimately rejected the Cao plaintiffs’ argument that

political party PACs should not be subject to the same contribution limit as other

PACs. In re Anh Cao, 619 F.3d 410 (5th Cir. 2010). But that is not relevant here.

What is relevant is that the question was properly certified because, although the

underlying statute had been twice upheld by the Supreme Court, plaintiffs brought

a novel claim based upon a different application of that statute to different facts.

      Given this fact-bound determination, the as-applied nature of Plaintiffs’ case

further supports certification. The importance of the as-applied path to

constitutional litigation is well established, and applies as broadly in the context of

political law as any other. For example, in Doe v. Reed, the Court “note[ed]—as [it

had] in other election law disclosure cases—that upholding the law against a

broad-based challenge does not foreclose a litigant’s success in a narrower one.”

561 U.S. 186, 201 (2010) (citation omitted). Similarly, in upholding a BCRA

provision against a facial attack, the Supreme Court took pains to reiterate that it

“did not purport to resolve future as-applied challenges.” Wis. Right to Life v. FEC,

546 U.S. 410, 411-12 (2006). As in Cao, courts have found that narrow, as-applied

challenges are sufficiently “substantial” for certification, even when those cases

concern contribution limits upheld facially by the Supreme Court.

      Plaintiffs do not dispute that Buckley v. Valeo foreclosed challenges to the

general imposition of individual contribution limits. 424 U.S. at 28-29 (facially



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upholding individual limits as targeted to “the narrow aspect of political

association where the actuality and potential for corruption have been identified”).

The difference here is that Plaintiffs challenge the bifurcation itself, and its

application in situations where candidates run unopposed in their primaries before

going on to face candidates in the general election who had previously participated

in a competitive primary. The FEC can point to no case—in the Supreme Court or

elsewhere—that has even considered the bifurcation of the overall limit, let alone

subjected it to the closely drawn scrutiny the Constitution requires. It has cited no

precedent that contemplates the Plaintiffs’ circumstance. Thus, Plaintiffs’

constitutional questions are appropriate for certification.

      Moreover, even if this Court does not conclude that Plaintiffs have

articulated a certifiable question, if the facts of their case present such a question,

certification should proceed. Indeed, “[t]his Court has the power, and apparently

the duty, to identify the constitutional issues and to reframe the question as

necessary so that any proper non-frivolous question is certified to the en banc

Court of Appeals.” Libertarian Nat’l. Comm. v. FEC, 930 F. Supp. 2d. 154, 169

(D.D.C. 2013) (granting in part and denying in part plaintiff’s request to certify

questions under [§ 30110]). In LNC v. FEC, Judge Wilkins found that that the

proposed certified question in a facial challenge was foreclosed by facial Supreme

Court rulings. Id. at 165. Nevertheless, the court concluded that “on th[o]se facts, it



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appear[ed] that the anti-corruption interests that would be implicated by [the

contribution limit challenged there] may be minimal.” Id. at 171. Thus, “[a]fter a

careful review of the parties’ positions, the facts, and the current state of the law in

this area, this Court conclud[ed] that, although the question presented by the LNC

for certification does not merit review by the en banc Court of Appeals, there is a

valid, narrower constitutional question raised by the [facts of the case] that presents

an as-applied challenge that should be certified.” Id.

      Finally, the mere fact that this case was remanded does not change the

certification requirements or imply that this Court was incorrect to certify the

constitutional questions presented. As the procedural trajectories of cases like

Buckley v. Valeo and Khachaturian v. FEC illustrate, a remand declining to decide

the merits of a case does not purport to resolve those merits on re-certification. 519

F.2d 817; 980 F.2d 330. Consequently, Plaintiffs request recertification of the

constitutional questions previously submitted to the Court of Appeals.

      B.     The Supreme Court has neither considered nor decided whether
             the bifurcated contribution limit furthers the government’s
             interest in preventing quid pro quo corruption.

             1.     First Amendment Analysis

      Plaintiffs concede that the government may limit individual political

contributions. Indeed, as a general matter, “contribution limits impose a lesser

restraint on political speech [than expenditures do] because they ‘permit[ ] the



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symbolic expression of support evidenced by a contribution but do[ ] not in any

way infringe the contributor’s freedom to discuss candidates and issues.’”

McCutcheon v. FEC, 134 S. Ct. 1434, 1444 (2014) (quoting Buckley, 424 U.S. at

21) (Buckley alterations in McCutcheon). Plaintiffs further acknowledge that,

although government “action which may have the effect of curtailing the freedom

to associate is subject to the closest scrutiny,” strict scrutiny does not apply to

individual to candidate contribution limits. Buckley, 424 U.S. at 25; FEC v. Nat’l

Right to Work Comm., 459 U.S. 197, 207 (1982) (both citing NAACP v. Ala. ex rel.

Patterson, 357 U.S. 449, 460-61 (1958)).

      Still, when First Amendment rights are at stake, the Supreme Court places

the burden of persuasion upon the government, holding that “even a significant

interference with protected rights of political association [including contribution

limits] may be sustained if the State demonstrates a sufficiently important interest

and employs means closely drawn to avoid unnecessary abridgement of

associational freedoms.” Buckley, 424 U.S. at 25 (citations and quotation marks

omitted) (emphasis supplied); see also, e.g., Nixon v. Shrink Mo. G’vt. PAC, 528

U.S. 377, 392 (2000) (referring to “government’s burden to justify limits on

contributions”). That is, to survive a First Amendment challenge, an association-

suppressing law must target a sufficiently important and non-illusory interest, and

be closely drawn thereto.



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             2.    No court anticipated the effect on associational rights
                   suffered by Plaintiffs and those similarly situated.

      The preeminent case in this area of law, Buckley v. Valeo, did not

contemplate a situation like the Plaintiffs’ where (1) FECA itself creates an unfair

advantage, and (2) that unfair advantage privileges certain contributors over others.

Compare Buckley 424 U.S. at 31 (FECA “applies the same limitations on

contributions to all candidates.”) What’s more, the redesignation provision which

allows for this result in the first place, 11 C.F.R. § 110.3(c)(3), received not a

single mention in the Buckley opinion.

      What the Supreme Court has made clear is that the only constitutionally

cognizable justification for contribution limits is the prevention of actual or

apparent quid pro quo corruption. McCutcheon, 134 S. Ct. at 1450; Buckley, 424

U.S. at 25; see also Nixon v. Shrink Mo., 528 U.S. at 388. As Chief Justice Roberts

explained

      In a series of cases over the past 40 years, we have spelled out how to
      draw the constitutional line between the permissible goal of avoiding
      corruption in the political process and the impermissible desire simply
      to limit political speech. We have said that government regulation
      may not target the general gratitude a candidate may feel toward those
      who support him or his allies, or the political access such support may
      afford. Ingratiation and access…are not corruption. They embody a
      central feature of democracy—that constituents support candidates
      who share their beliefs and interests, and candidates who are elected
      can be expected to be responsive to those concerns.

      Any regulation must instead target what we have called quid pro quo
      corruption or its appearance. That Latin phrase captures the notion of

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      a direct exchange of an official act for money. The hallmark of
      corruption is the financial quid pro quo: dollars for political favors.
      Campaign finance restrictions that pursue other objectives, we have
      explained, impermissibly inject the Government into the debate over
      who should govern. And those who govern should be the last people
      to help decide who should govern.

McCutcheon, 134 S. Ct. at 1441-42 (citations and quotation marks omitted)

(emphasis original).

      Consequently, it is beyond dispute that contribution limits must target this

understanding of quid pro quo corruption. It follows, then, that the government

must offer more than a naked assertion of a “corruption” interest to justify a burden

on the right to associate via political contributions. Nixon v. Shrink Mo., 528 U.S.

at 392 (citing and discussing Colo. Republican Fed. Campaign Comm. v. FEC, 518

U.S. 604, 616 (1996) (opinion of Breyer, J.)). “In the First Amendment context, fit

matters.” McCutcheon, 134 S. Ct. at 1456. This is where closely drawn scrutiny

comes in: a contribution limit must be closely drawn to the government’s interest

in preventing actual or apparent quid pro quo arrangements—dollars for favors.

Otherwise, it is unconstitutional. McCutcheon, 134 S. Ct. at 1462.

      No court has considered the constitutionality of bifurcating the individual

limit on candidate contributions, either facially or as applied, under this standard.

Further, the FEC has not suggested a justification, except to baldly (and without

evidence) assert a vague anticorruption interest.

      One cannot corrupt an abstract concept such as an election. What may be

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corrupted is a candidate. From that standpoint, a limit on how much money may be

given to candidates may well further Congress’s legitimate interest. But the FEC

has never shown what additional work is being done by bifurcating that limit. This

is especially so where, in the not-uncommon instance of a candidate facing little or

no primary opposition, that bifurcation is itself illusory. Cf. Nixon v. Shrink Mo.,

528 U.S. at 392 (the Supreme Court “[has] never accepted mere conjecture as

adequate to carry a First Amendment burden.”).

            3.     No court has considered the bifurcated limit under the
                   Supreme Court’s most recent pronouncement on closely
                   drawn scrutiny, McCutcheon v. FEC.

      McCutcheon refined the contours of the required First Amendment analysis,

but it is only the latest in the series of cases explaining the scope of the

government’s interest in combating quid pro quo corruption. See McCutcheon, 134

S. Ct. at 1441 (“In a series of cases over the past 40 years…”). Consequently, even

if the bifurcated limit had, on similar facts, been subject to First Amendment

scrutiny in the past (which it has not), it could not have been evaluated under

McCutcheon. This is important because McCutcheon strengthened the exacting

scrutiny standard in the contribution context, making quite clear that the

government must show a particular type of anticorruption rationale—quid pro quo

corruption, narrowly understood. What’s more, it must do so without resorting to

unsubstantiated hypotheticals; in invalidating the aggregate contribution limits,



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McCutcheon noted a dearth of “real-world examples of circumvention of the base

limits” that the aggregate limits were designed to prevent. Id. at 1456. “This sort of

speculation,” the Court concluded, “cannot justify the substantial intrusion on First

Amendment rights at issue in this case.” Id.

      Moreover,     in   evaluating    the        government’s   anticorruption   claims,

McCutcheon considered the total limit on any one individual’s contributions to any

one candidate without respect to the distinction between primary and general

elections. Id. at 1448 (“if all contributions fall within the base limits Congress

views as adequate to protect against corruption. The individual may give up to

$5,200 each to nine candidates”); Id. at 1451 (“under the dissent’s view, it is

perfectly fine to contribute $5,200 to nine candidates but somehow corrupt to give

the same amount to a tenth”). Thus, the Court clarified that “Congress’s selection

of a $5,200 base limit indicates its belief that contributions of that amount or less

do not create a cognizable risk of corruption.” Id. at 1452. Consequently,

preventing Plaintiffs’ desired contributions—a total of $5,200 to any given

candidate during a general election—does not further an anti-corruption interest.

      The FEC’s defense of the bifurcated limit suffers from the same infirmities

that were fatal in McCutcheon. Bifurcation prevents Plaintiffs and those similarly

situated from giving the full, non-corrupting contribution amount at the time they

feel is most critical in the electoral cycle. If a contributor wishes to fully associate



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with a candidate who must run in a competitive primary, the bifurcated limit forces

that contributor to associate with the candidate during a primary election. This is so

even for contributors who simply wish to support candidates in the general election

(when, after all, one’s representatives are actually elected) along party lines. As the

Supreme Court has noted, also in the contribution limit context, “[s]uch

distinctions in degree become significant…when they can be said to amount to

differences in kind.” Buckley, 424 U.S. at 30 (citations omitted). Like the aggregate

limit on individual contributions considered in McCutcheon, “[a]t that point, the

limits deny the individual all ability to exercise his expressive and associational

rights by contributing to someone who will advocate for his policy preferences,” a

“clear First Amendment harm[].” Id. at 1448-49.

      Thus, it is appropriate for this Court to certify Plaintiffs’ First Amendment

challenge to the Court of Appeals.

      C.     The Supreme Court has neither considered nor decided whether
             the bifurcated limit denies some contributors equal protection of
             the law.

      As Plaintiffs have noted throughout this litigation, their challenge is not

based on an incumbent/challenger distinction, but rather on the asymmetry posed

when a candidate who faces a primary challenge competes in the general election

against a candidate who ran virtually unopposed during the primary. In 2014, the

only difference between the Plaintiffs and contributors to their preferred



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candidates’ general election opponents was that a contributor to Congressman

Loebsack or Congressman Peters could give $5,200 solely for use in the general

election, while Mr. Jost and Ms. Holmes were denied that same ability. Certainly,

this also occurred in other races, and will continue to occur in future electoral

cycles. See, e.g., Certification of Questions of Constitutionality of Federal Election

Campaign Act at 6 (Dkt. 18) (“Plaintiffs’ complaint is not mooted by the

November 4, 2014 election inasmuch as the same limitations would apply to their

contributions in the next federal election in which they wish to contribute to a

candidate.”)

       Plaintiffs challenge this result under the doctrine of equal protection.

               1.   Equal Protection Analysis

      This unequal treatment infringes upon the “liberty protected by the Fifth

Amendment’s Due Process Clause…against denying to any person the equal

protection of the laws.” United States v. Windsor, 133 S. Ct. 2675, 2695 (2013);

News Am. Publ’g, Inc. v. FCC, 844 F.2d 800, 804 (D.C. Cir. 1988) (“Although the

Equal Protection Clause appears only in the [Fourteenth] Amendment, which

applies only to the states, the Supreme Court has found its essential mandate

inherent in the Due Process Clause of the Fifth Amendment[,] and therefore

applicable to the federal government”). The equal protection doctrine’s “broad and

benign provisions” render invalid any law which may “itself be fair on its face and



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impartial in appearance, yet...is applied…so as practically to make unjust and

illegal discriminations between persons in similar circumstances, material to their

rights.” Yick Wo v. Hopkins, 118 U.S. 356, 373-374 (1886).

      The First Amendment’s protective scope encompasses the freedom to

associate, which the Supreme Court has long considered a “basic constitutional

freedom” that “lies at the foundation of a free society.” Buckley, 424 U.S. at 25

(citation and quotation marks omitted). This is black letter law. E.g., Nixon v.

Shrink Mo., 528 U.S. at 386 (limits on the right to contribute implicate “the

constitutional guarantee” of associational liberty, which “has its fullest and most

urgent application precisely to the conduct of campaigns for political office”)

(citing Buckley, 424 U.S. at 15-16, (quoting Monitor Patriot Co. v. Roy, 401 U.S.

265, 272 (1971))). Indeed, just last Term, the Supreme Court noted that “[t]here is

no right more basic in our democracy than the right to participate in electing

political leaders…[such as by] contribut[ing] to a candidate’s campaign.”

McCutcheon, 134 S. Ct. at 1440-41.

            2.     No court has considered whether bifurcating FECA’s base
                   limit can subject some contributors to asymmetric
                   treatment violating the Constitution—but the Supreme
                   Court has suggested that it might.

      In reviewing contribution limits, the Supreme Court has largely considered

challenges by candidates or political committees from the perspective of a

contribution’s recipient, not that of the contributor herself. The Buckley Court’s

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decision to uphold the individual contribution limits in FECA, for instance, was

grounded in a record that focused on the candidates and parties involved. 424 U.S.

at 33. It did not specifically address the right to equal protection at issue here: the

one held by contributors. Moreover, the Buckley Court only considered a facial

challenge to the contribution limits, and did not consider the effects of separate

limits for primary and general elections.

      Indeed, the principal cases discussing contribution limits tend consider

whether the limits create “restraint[s] on the right of association…[by] hobbl[ing]

the collective expressions of a group.” Citizens Against Rent Control v. City of

Berkeley, 454 U.S. 290, 296 (1981). Even when contributors have themselves

brought suit, these contributor-plaintiffs generally have mounted a wholesale

challenge to the limits themselves—not the asymmetric classification of different

types of contributors. E.g. Randall v. Sorrell, 548 U.S. 230, 239-40 (2006).

      Moreover, as this Court itself has noted, the Supreme Court “has not

addressed the scrutiny applicable to a challenge to restrictions on political

contributions under an equal protection rubric.” Memorandum Opinion Denying

Preliminary Injunction at 10 (Dkt. 15). This alone suggests that Plaintiffs’ equal

protection challenge has not been ruled upon by the Court; presumably such a




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ruling would have mentioned the level of scrutiny it was applying.5 Moreover, “the

preferred course of adjudication” is to strike down a law only as it applies to those

unconstitutionally burdened. City of Cleburne v. Cleburne Living Ctr., 473 U.S.

432, 448 (1985). Thus, it is unsurprising when a court declines to reach the merits

of a Fifth Amendment claim where other grounds for decision are available.

      Nevertheless, the Supreme Court has consistently looked askance at

asymmetric campaign finance regulations. In Davis v. FEC, for example, a self-

financed congressional candidate brought First and Fifth Amendment challenges to

BCRA’s “millionaire’s amendment.” 554 U.S. 724, 729 (2008) (discussing BCRA

§ 319(a), formerly 2 U.S.C. § 441a-1(a)). That provision of BCRA allowed

congressional candidates who were opposed by self-financed candidates to receive

individual contributions at three times the statutory level. The Court found in

Plaintiff’s favor on First Amendment grounds and, as a result, did not reach his

Fifth Amendment claim. Nevertheless, the Court’s analysis is instructive, as it

5
  In 2002, Congress amended FECA by passing the Bipartisan Campaign Reform
Act (“BCRA”). BCRA § 307 doubled the individual contribution limits, and
indexed the limits to the consumer price index. 52 U.S.C. § 30116(c) (formerly 2
U.S.C. § 441a(c)). BCRA left FECA’s distinction between primary and general
elections undisturbed. 52 U.S.C. § 30116(a)(6) (formerly 2 U.S.C. § 411a(a)(6)).
Like FECA, BCRA was quickly challenged facially by a number of plaintiffs.
McConnell v. FEC, 540 U.S. 93 (2003). Nevertheless, no McConnell plaintiff
challenged the bifurcation of those limits. A number of plaintiffs challenged
BCRA’s increase in individual contribution limits, but did not challenge the limit’s
bifurcation between the primary and general elections. The McConnell Court
declined to reach that issue for want of jurisdiction. 540 U.S. at 227-29 (plaintiffs
challenging increase failed to demonstrate Article III standing).

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noted the provision’s “effect of enabling [plaintiff’s] opponent to raise more

money and to use that money to finance speech that counteracts and thus

diminishes the effectiveness of” other candidate speech. Davis, 554 U.S. at 750.

This holding is further instructive insofar as it recognized that “[w]e have never

upheld the constitutionality of a law that imposes different contributions for

candidates who are competing against each other, and we agree with Davis that

this scheme impermissibly burdens his First Amendment right to spend his own

money for campaign speech.” Id. at 738.

      Similarly, in Ariz. Free Enter. Club’s Freedom Club PAC v. Bennett, the

Supreme Court struck down an Arizona public financing regime based, in part, on

its asymmetric effect (although not specifically under the Equal Protection Clause).

131. S. Ct. 2806, 2819 (2011). Arizona’s system provided that “a publicly financed

candidate would receive roughly one dollar for every dollar spent by an opposing

privately financed candidate” or an independent group supporting such a candidate.

Id. at 2813. In rejecting that state’s approach, the Court relied upon Davis. Id. at

2818 (“The logic of Davis largely controls our approach to this case”). But it also

noted an asymmetry problem: some Arizona districts, including its state House

districts, elected more than one candidate.6 Consequently, “each dollar spent by the



6
  Id. at 2815 (“Arizona is divided into 30 districts for purposes of electing members
to the State’s House of Representatives. Each district elects two representatives to

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privately funded candidate would result in an additional dollar of campaign

funding to each of that candidate’s publically financed opponents.” Id. at 2819

(emphasis supplied). The Court stated that, in such circumstances, candidates

would be required “to fight a political hydra of sorts.” Id.

      This was equally, if not especially, true for independent groups who, in

speaking for or against a candidate, would trigger direct cash payments to their

opponents. Id. (“spending one dollar can result in the flow of dollars to multiple

candidates the group disapproves of”). These passages can only be read as

expressing the Court’s concern, explicitly raised in both Buckley and Davis, that

governments might impermissibly violate constitutionally safeguarded political

rights by providing some with advantages over others.

      Thus, the Supreme Court has determined that where contribution limits work

asymmetrical effects, they threaten fundamental freedoms and may be

unconstitutional. Because it has never reached the merits of an equal protection

challenge to contribution limits—but has suggested, in Davis and Ariz. Free

Enterprise Club PAC, that such a challenge might be appropriate—Plaintiffs’ equal

protection challenge to the bifurcated limit should be certified. See, Cao v. FEC,

688 F. Supp. 2d at 547 (“acknowledgment by the high court that parties may



the House biannually. In the last general election, the number of candidates
competing for the two available seats in each district ranged from two to seven”).

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possess uniquely protected associational rights is sufficient for this Court to hold

that [the question was] non-frivolous”).

             3.     The only court to consider an analogous contribution
                    regime concluded that it violated the equal protection rights
                    of the contributor-plaintiffs there.

      While the Supreme Court has never reached the merits of any contributor’s

equal protection challenge to an asymmetrical contribution limit, the Tenth Circuit

has. Riddle v. Hickenlooper, 742 F.3d 922, 930 (2014). Riddle contemplated a

slightly different factual posture, but addressed a parallel constitutional claim: that

a contribution limit operated asymmetrically, in violation of equal protection. The

case involved a Colorado law permitting uncontested major party candidates to

receive contributions for the primary and general elections—just as federal law

permits now. Id. at 924 (Contributions for both elections allowed “even when there

is only one candidate seeking the nomination” of a major party). These primary

and general election contributions could—as in the federal system—all be spent in

the general election. Id. at 926; FEC, CAMPAIGN GUIDE: CONGRESSIONAL

CANDIDATES        AND   COMMITTEES         (June   2014)   at    21,   available    at

http://www.fec.gov/pdf/campaigngui.pdf (“Nevertheless, the campaign of a

candidate running in the general election may spend unused primary contributions

for general election expenses”). But candidates seeking the nomination of other,

non-major parties, could receive primary contributions “only when multiple



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candidates vie for the nomination.” Id. at 926. Other candidates who did not run in

a primary—such as independent or write-in candidates—were also barred from

accepting primary election money. Id. at 927.

      The Riddle plaintiffs, like Ms. Holmes and Mr. Jost, sought to contribute the

full primary and general election amount to a general election candidate (in Riddle,

a write-in candidate). The Tenth Circuit found no cognizable anti-corruption

interest in “creat[ing] a basic favoritism between candidates vying for the same

office,” and determined that Colorado’s asymmetric scheme violated the U.S.

Constitution’s requirement that citizens be treated equally under the law. Id. at 929,

930. Specifically, the Tenth Circuit determined that because “[a]fter the primary, a

supporter of [the write-in candidate] could give” half as much money for the

general election, “the statute treated contributors differently based on the political

affiliation of the candidate being supported. And by treating the contributors

differently, the statute impinged on the right to political expression.” Id. at 927.

      Plaintiffs challenge a statute that in operation causes a Fifth Amendment

harm comparable to the one identified in Riddle. As in Riddle—where the

contribution   limit   distinguished    between    two    types   of   candidates—the

primary/general election bifurcation works a similar effect. Colorado’s statute

created different contribution limits for those who ran in a primary election and

those who did not. Likewise, the federal scheme does not distinguish between



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those candidates who must face significant primary challengers and those who do

not. While “on its face” this scheme does not appear discriminatory, the disparate

impact in favor of contributors to candidates who do not face a primary

challenge—and their supporters—is clear “political reality.” Buckley, 424 U.S. at

31 n.33.

      Thus, a “fundamental principle: [that] the State must govern impartially” is

at risk. New York City Transit Auth. v. Beazer, 440 U.S. 568, 587 (1979). Unless

the government has a constitutionally sufficient justification for allowing some

contributors to give $5,200 for the general election, while prohibiting others from

doing the same, the bifurcated limit must fall as applied. At minimum, given the

Supreme Court’s lack of a ruling on this constitutionally sensitive question,

Plaintiffs’ due process question ought to be certified to the Court of Appeals.

      D.     Plaintiffs do not challenge the dollar amount of the individual
             contribution limit, so any deference traditionally afforded the
             legislature in that context is not relevant here.

      It bears repeating that Plaintiffs do not challenge the dollar amount of the

individual contribution limit. Instead, they challenge its structure, and the effects of

that structure on Plaintiffs and those similarly situated. It is true that courts lack “a

scalpel to probe” legislative judgments setting the precise dollar amounts of

contributions, and thus, generally defer to legislative determinations on that point.

Buckley v. Valeo, 424 U.S. at 30. It is another matter entirely, however, to defer to



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an artificial bifurcation that treats a particular class of contributors unfairly, or to

defer to a contribution regime that is not tailored to the prevention of quid pro quo

corruption. Such schemes violate, respectively, the Fifth and First Amendments.

      For example, in upholding state the contribution limits at issue there, Nixon

v. Shrink Mo. observed that “[w]hile Buckley's evidentiary showing exemplifies a

sufficient justification for contribution limits, it does not speak to what may be

necessary as a minimum.” 528 U.S. at 391. The Court further noted that “Buckley

upheld contribution limits as constitutional...noting the Court's ‘deference to a

congressional determination of the need for a prophylactic rule where the evil of

potential corruption had long been recognized.’” Id. at 393 n.5 (quoting FEC v.

Nat’l Conservative Political Action Comm., 470 U.S. 480, 500 (1985)).

      Nevertheless, Nixon v. Shrink Mo. clarified that, while it had found sufficient

evidence to uphold the base limits at issue there, “[t]he quantum of empirical

evidence needed to satisfy heightened judicial scrutiny of legislative judgments

will vary up or down with the novelty and plausibility of the justification raised.”

Id. at 391. This ratcheted scale is illuminating when it comes to scrutinizing the

bifurcated limit. Indeed, Nixon v. Shrink Mo. considered whether a state’s limit on

contributions to candidates was too low.7 In other words, that case involved the


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  Missouri’s contribution limit was, like the federal limit, calculated on a per-
election basis. 528 U.S. at 382-83 (citation omitted). But it was the existence and
dollar amount of the limit that was challenged there—not, as here, its bifurcation.

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mere existence of contribution limits as such, and whether they were set at an

appropriate level, neither of which were “novel” questions. On the other hand, the

issue here—the bifurcation of a total contribution to a single candidate between the

primary and general portions of an election cycle, as applied to contributors like

the Plaintiffs—does not merely reflect Congress’s judgment that there should be

some contribution limit set at some amount. Rather, it regulates the manner in

which such contribution must be given. This question is novel.

      Moreover, any applicable legislative deference is not without limit. In

Randall v. Sorrell, for example, the Supreme Court considered Vermont’s limit on

individual contributions during an entire election cycle. 548 U.S. at 249 (noting

that Vermont law “sets its limits per election cycle, which includes both a primary

and a general election”). To ensure the limit was closely drawn to a sufficiently

important governmental interest, Randall applied a two part test, first determining

whether the statute showed “danger signs” of putting challengers at a significant

disadvantage, and second “review[ing] the record independently and carefully with

an eye toward assessing the statute’s tailoring [and]…proportionality.” 548 U.S. at

249 (quotation marks and citation omitted). The Court there did not defer to the

legislature, because it determined that the limit in question was “too low and too

strict to survive First Amendment scrutiny.” Id. at 248.




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      Here, Congress has conditioned the noncorrupting nature of a $5,200 general

election contribution on the timing of the gift: at least half must be given before the

primary election, even if only by a day, and even if the entire $5,200 is used for the

general election. Conversely, the entire $5,200 may not be given after the primary

election, even if only by a day, and even though the same $5,200 will be used for

the same general election. The bifurcated limit allows supporters of candidates

without primary challengers to contribute twice as much money for the general

election. This is not simply an exercise in legislative discretion with respect to

setting dollar amounts, which courts lack a “scalpel to probe.” Buckley, 424 U.S. at

30; Randall, 548 U.S. at 247, 248. It doubles the scope of association that certain

contributors enjoy, and does so as a matter of government design.




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                                    CONCLUSION

      For the forgoing reasons, Plaintiffs’ constitutional questions were properly

certified to the Court of Appeals, and should be recertified.


      Respectfully submitted this 13th day of March, 2015,

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                            CERTIFICATE OF SERVICE

      I hereby certify that on the 13th day of March, 2015, I filed the foregoing

Plaintiff’s Opening Brief Regarding Certification in the above-captioned action via

this Court’s ECF system, causing notice to be served upon the following:

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